               Case 4:19-cv-01562 Document 1-1 Filed on 04/29/19 in TXSD Page 1 of 24




                                                                                                                        SOP / ALL
                                                                                                     Transmittal Number: 19628192
Notice of Service of Process                                                                            Date Processed: 04/10/2019

Primary Contact:           Bruce Buttaro
                           Liberty Mutual Insurance Company
                           175 Berkeley Street
                           Boston, MA 02116

Entity:                                       Liberty Mutual Insurance Company
                                              Entity ID Number 1765547
Entity Served:                                Liberty Mutual Insurance Company
Title of Action:                              Kwang Hwang vs. Liberty Mutual Insurance Company
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Harris County District Court, TX
Case/Reference No:                            201920469
Jurisdiction Served:                          Texas
Date Served on CSC:                           04/09/2019
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Chad T. Wilson
                                              832-415-1432

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                             Exhibit
                                                            EXHIBIT
                                                            _________
                                                                A
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                                              CAUSE N0. 201920469
                                                            .+
                                              RECEIPT N0.                         0.00            CIV
                                                                                         TR $ 73607583
PLAINTIFF: HFIANG, KWANG                                                       In The   125th
        vs.                                                                    Judicial District Court
DEFENDANT: LIBERTY MUTUAL INSURANCE COMPANY                                    of Harris County, Texas
                                                                               125TH DISTRICT COURT
                                                                               Houston, TX
                                                     CITATION
THE STATE OF TEXAS
County of Harris
                                                                               COAYOF
                                                                                         pCEADfNG pROVIDED 8yNLiD.

T0: LIBERTY MUTUAL INSURANCE COMPANY BY SERVING ITS REGISTERED AGENT
    CORPORATION SERVICE COMPANY
    211 EAST 7TH STREET SUITE 620    AUSTIN TX 78701 - 3218
    Attached is a copy of PLAINTIFFS ORIGINAL PETITION JURY DEMAND AND REOUEST FOR DISCLOSURE

This instrument was filed on the 20th dav of March, 2019, in the above cited cause number
and court. The instrument attached describ'es the 61aim against you.

     YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued.this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against you.
TO OFFICER SERVING:
      This citation was issued on 28th day of March, 2019, under mv hand and
seal of said Court.
                                             Of ~H~AR
                                         r' ~
                                            "` ,• ~ iS ~
Issued at reouest of:                ~ro
                                       J,             r'
                                                       Ost MARILYN BURGESS, District Clerk
WILSON, CHAD TROY                    (Uf             i Zt Harris County, Texas
455 EAST MEDICAL CENTER BLVD         iU t            ! ri 201 Caroline, Houston, Texas 77002
SUITE 555                            `d `.            ~I (p.0. Box 4651, Houston, Texas 77210)
WEBSTER, TX 77598
Tel: (832) 415-1432                                 S'Generated By: MOMON, RHONDA HWP//11188278
Bar No.: 24079587

                                      OFFICER/AUTHORIZED PERSON RETURN
Came to hand at             o'clock _.M., on the                 day of

Executed at (address)                                                                                    in

                             County at          o'clock         .M., on the       day of

              by delivering to                                                  defendant, in person, a

true copy of this Citation together with the accompanying                     copy(ies) of the'Petition

attached thereto and I endorsed on said copy of the Citation.the date of delivery.
To certify which I affix my hand officially this       day of

FEE: $

                                                                     of                       County, Texas


                                                            By
                  Affiant                                                       Deputy

On this day,                                            , known to me to be the person whose
signature appears on the foregoing return, personally appeared. After being by me duly sworn,
he/she stated that this citation was executed by him/her in the exact manner recited on the
return.

SWORN TO AND SUBSCRIBED BEFORE ME, on this                  day of


                                                                                Notary Public



N. INT. CITR. P                  .              *73607583*
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                                                                                                        3/20/2019 7:15 PM
                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 32109262
                                                                                                          By: Nelson Cuero
                                                                                                 Filed: 3/20/2019 7:15 PM

                           CAUSE NO.

KWANG HWANG AND JUNGEUN LIM,                                     IN THE JUDICIAL COURT OF

       Plaiiatiffs,




V.
                                                                    HARRIS COUNTY, TEXAS
LIBERTY MUTUAL INSURANCE
COMPANY AND LISA LEVY,

       Defeizdants.                                                          DISTRICT COURT


                      PLAINTIFFS' ORIGINAL PETITION, JURY DEMAND,
                             AND REQUEST FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Kwang Hwang and Jungeun Lim, ("Plaintiffs" or "Plaintiff '), and file

Plaintiffs' Original Petition, Jury Demand, and Request for Disclosure, complaining of

Liberty Mutual hisurance Conipany ("Liberty Mutual" or "Liberty") and Lisa Levy ("Levy") (or

collectively "Defendants") and for cause of action, Plaintiffs respectfully show the following:

                                DISCOVERY CONTROL PLAN

1.      Plaintiffs intend to conduct discovery under Leve13, Texas Rules of Civil Procedure 190.4

        and 169.

                                              PARTIES

2.      Plaintiffs, Kwang Hwang and Jungeun Lim, reside in Harris County, Texas.

3.      Defendant, Liberty Mutual Insurance Company, is a Massachusetts insurance company

        engaged in the business of insurance in the State of Texas. Plaintiffs request service of

        citation upon Liberty Mutual Insurance Company through its registered agent for service:

        Corporation Service Company, 211 East 7th Street, Suite 620, Austin, Texas 78701 -

        3218. Plaiiitiffs request service at this time.
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4.      Defendant Lisa Levy is an individual resident of Houston, Texas. Ms. Levy may be served

        witli citation at the address listed with the Texas Deparnnent of Insurance: 10713 West

        Sam Houston Parkvvay North, Suite 650, Houston, Texas 77064. Plaintiffs request

        service at this time.

                                           JUItISDICTION

5.      The Court has jurisdiction over Liberty Mutual because this Defendant engages in the

        business of insurance in the State of Texas, and the causes of action arise out of Liberty

        Mutual's business activities in the state, including those in Harris County, Texas, with

        reference to this specific case.

6.      The Court has jurisdiction over Lisa Levy because this Defendant engages in the business

        of adjusting insurance claims in the State of Texas, and the causes of action arise out of

        this Defendant's business activities in the State of Texas, including those in Harris County,

        Texas, with reference to this specific case.

                                              VENUE

7.      Venue is proper in Harris County, Texas because the insured property is located in Harris

        County, Texas, and all or a substantial part of the events giving rise to this lawsuit occurred

        in Harris County, Texas. TEX. CIV. PRAC. & REM. CODE § 15.032.

                                               FACTS

8.      Plaintiffs assert claiins for fraud, breach of contract, violations of sections 541 and 542 of

        'the Texas Insurance Code, and violations of the Texas DTPA.

9.      Plaintiffs own a Liberty Mutual Insurance Company horrieowner's insurance policy,

        number H37-298-142729-70 7 6("the Policy"). At all relevant times, Plaintiffs owned the

        insured premises located at 18310 Eden Trails Lane, Houston, Texas 77094 ("the

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      Property")

10.   Liberty Mutual or its agent sold the Policy, insuring the Property, to Plaintiffs. Liberty

      Mutual or its agent represented to Plaintiffs that the Policy included wind and hailstorm

      coverage for damage to Plaintiffs' property. Liberty Mutual has refused.the full extent of

      that coverage curreiitly owed to Plaintiffs.

11.   On or about March 24, 2017, the Property sustained extensive damage resulting from a

      severe stonn that passed through the Houston, Texas area.

12.   In the aftermath of the wind and hailstorm, Plaintiffs submitted a claim to Liberty Mutual

      against the Policy for damage to the Property. Liberty Mutual assigned claim nurnber

      036869494-01 to Plaintiffs' claim.

13.   Plaintiffs asked Liberty Mutual to cover the cost of damage to the Property pursuant to the

      Policy.

14.   Damaged areas of the property include, but are not limited to the roof, vents, flashings,

      windows, window screens, fascia, gutters, downspouts, and HVAC system. The storm

      compromised the integrity of the roof allowing water to enter, causing water damage to the

      following areas of the interior: the game room, stairs, kid's bathroom, foyer, and the living

      rooin.

15.   Liberty Mutual assigned or hired Levy to adjust the claim.

         a. Levy had a vested interest in undervaluing the claims assigned to him by Liberty

                Mutual in order to maintain her employment. The disparity in the number of

                damaged items in her report (zero (0)) compared to that of Plaintiffs' third-party

                adjuster's (seventy-five (75)) is evidence of fraud on the part of Levy. The

                valuation of dainages that were included in Levy's report (zero dollars ($))

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             compared to Plaintiffs' third-party adjuster's (forty-seven thousand three hundred

             twelve dollars and fourteen cents ($47,312.14)) is also evidence of fraud on the part

             of Levy.

         b. Furthermore, Levy was aware of Plaintiffs' deductible before visiting the Property

             to conduct the inspection. Levy had advanced kiiowledge of what amount of

             damages she needed to find in order to deny the claim, which she did with an

             indication in her denial letter that "no storm related damages were found." Levy

             made this representation despite obvious and apparent wind damage tliroughout the

             roof and resulting water damage to the interior of the dwelling.

         c. Levy made misrepresentations as to the ainount of damage Plaintiffs' Property

             sustained (i.e., none) as well as inisrepresentations regarding how inuch it would

             cost to repair the damage (i.e., nothing) to Plaintiffs' Property.

         d. Levy inade further misrepresentations to Plaintiffs during her inspection. Levy used

             her expertise to fabricate plausible explanations for why visible damage to

             Plaintiffs' Property would not be covered under the policy. Such misrepresentations

             include but are not limited to, damage to the Property owing froin wear and tear,

             damage from a previous claim, and damage of a type not consistent with the type

             of claim that was inade.

16.   Liberty Mutual, tlirougli its agents, namely Levy, conducted a substandard and improper

      inspection and adjustment of the Property, which yielded grossly inaccurate and unrealistic

      assessments of the cause, extent, and dollar amount of damage to the Property.

17.   Levy's adjustment of the claim occurred on or around January 26, 2018 and she found that

      there was no damage from a covered peril to the roof of the property, which was thereafter

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      the position of her employer, Liberty Mutual, regarding Plaintiffs' claim.

18.   After application of the policy deductible, Plaiiitiffs were left witliout adequate recovery to

      coinplete proper repairs on Plaintiffs' property.

19.   To date, Plaintiffs have received $0.00 for damage to Plaintiffs' Property. The damage to

      Plaintiffs' Properry is currently estimated at $47,312.14.

20.   Since due deinand was made on May 07, 2018 and again in March 2019 after a period of

      attempted abatement and negotiations, Liberty Mutual has not coinmunicated that any

      futtire settlements or payments would be forthcoming to pay for the entire loss covered

      under the Policy, nor did it provide any explanation for failing to settle Plaintiffs' claim

      properly.

21.   As stated above, Defendants failed to assess the claim tlioroughly. Based upon Defendants'

      grossly unreasonable, intentional, and reckless failure to investigate and adjust the claim

      properly, Liberty Mutual failed to provide full coverage due under the Policy.

22.   As a result of Liberty Mutual's failure to provide full coverage, along with Liberty

      Mutual's delay tactics to avoid reasonable payment to Plaintiffs, Plaintiffs have suffered

      damages.

23.   Liberty Mutual failed to perfonn its contractual duties to Plaintiffs under the terms of the

      Policy. Specifically, Liberty Mutual refused to pay the full proceeds of the Policy, .although

      due demand was made for an amount sufficieiit to cover repairs to the daniaged Property,

      and all conditions precedent to recover upon the Policy were accomplished by Plaintiffs.

24.   Defendants' misrepresentations, unreasonable delays, and continued denials constitute a

      breach of the statutory obligations under Chapters 541 and 542 of the Texas Insurance

      Code. Thus, the breach of the statutory duties constitutes the foundation of a breach of the

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      insurance contract between Liberty Mutual and Plaintiffs.

25.   Defendants' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

      Practices. TEX. INS. CODE §541.060(a)(1). Defendants have not atteiiipted to settle

      Plaintiffs' claim in a fair manner, even though Defendants were aware of their liability to

      Plaintiffs under the Policy. Specifically, Defendants have failed to titnely pay Plaintiffs'

      coverage due under the Pol'icy.

26.   Defendants' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

      Practices. TEX. INS. CODE §541.060(a)(2)(A). Defendants fail.ed to provide Plaintiffs a

      reasonable explanation for not making the full payment under the terms of the Policy.

27.   Defendants' conduct constitutes a violation of the Texas hisurance Code, Unfair Settlement

      Practices. TEX. INS. CODE §541.060(a)(4). Defendants refused to provide full coverage

      due to Plaintiffs under the terms .of the Policy. Specifically, Liberty Mutual, through its

      agents, servants, aiid representatives, namely Levy, performed an outcome-oriented

      investigation of Plaintiffs' claim, which resulted in a biased, unfair, and inequitable

      evaluation of Plaintiffs' losses on the Property.

28.   Defendants' conduct constitutes a violation of the Texas Insurance Code, Proinpt Payment

      of Claims. TEX. INS. CODE §542.055. Defendants failed to reasonably accept or deny

      Plaintiffs' full claim witliin the statutorily mandated time after receiving all iiec.essary

      infonnation.

29.   Defendants' conduct constitutes a violation of the Texas Insurance Code, Prompt Payment

      of Claims. TEX. INS. CODE §542.056. Defendants failed to meet their obligations under

      the Texas Insurance Code regarding timely payment of the claim. Specifically, Defendants

      have delayed payment of Plaintiffs' claim longer than allowed, and Plaintiffs have not

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      received full payment for the claiin.

30.   Defendants' wrongful acts and omissions forced Plaintiffs to retain the professional

      services of the attorneys and law finn representing them with respect to these causes of

      action.


  CAUSES OF ACTION AGAINST DEFENDANT LIBERTY MUTUAL INSURANCE
                            COMPANY

                                 BREACH OF CONTRACT

31.   All allegations above are incorporated herein.

32.   Liberty Muttial is liable to Plaintiffs for intentional violations of the Texas Insurance Code,

      and intentional breach of the common law duty of good faith and fair dealing. It follows,

      then, that the breach of the statutory duties constitutes the foundation of an intentional

      breach of the insurance contract between Liberty Mutual and Plaintiffs.

33.   Liberty Mutual's failure and/or refusal to pay adequate coverage as obligated under the

      terms of the Policy, and under the laws of the State of Texas, constitutes a breach of the

      insurance contract with Plaintiffs.

            NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                   UNFAIR SETTLEMENT PRACTICES

34.   All allegations above are incorporated herein.

35.   Liberty Mutual's conduct constitutes multiple violations of the Texas Insurance Code,

      Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this

      article are actionable by TEX. INS. CODE §541.151.




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     36.   Liberty Mutual's unfair settlement practice of misrepresenting to Plaintiffs material facts

           relating to coverage constitutes an unfair method of competition and a deceptive act or

           practice in the business of insurance. TEX. INS. CODE §541,060(a)(1).

     37.   Liberty Mutual's unfair settlement practice of failing to attempt in good faith to make a

           proinpt, fair, and equitable settlement of the claim, even though liability under the Policy

           was reasonably clear, constitutes an unfair method of competition and a deceptive act or

           practice in the business of insurance. TEX. INS. CODE §541.060(a)(2)(A).

     38.   Liberty Mutual's unfair settlement practice of failing to provide Plaintiffs a prompt and

           reasonable explanation of the basis in the Policy, in relation to the facts or applicable law,

           for partial denial of the claim, constitutes an unfair method of coinpetition and a deceptive

           act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

     39.   Liberty Mutual's unfair settlement practice of failing within a reasonable time to affirm or

           deny coverage of the claim to Plaintiffs constitutes an unfair method of competition and a

           deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(4).

     40.   Liberty Mutual's unfair settlement practice of refusing to pay Plaintiffs' claim witliout

           conducting a reasonable investigation constitutes an unfair method of coinpetition and a

           deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(7).

                 NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                        THE PROMPT PAYMENT OF CLAIMS

     41.   All allegations above are incorporated herein.

     42.   Liberty Mutual's conduct constitutes multiple violations of the Texas Insurance Code,

           Prompt Payment of Claims. All violations made under this article are actionable by TEX.

           INS. CODE §542.060.


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43.    Liberty Mutual's failure to notify Plaintiffs in writing of its acceptance or rejection of the

       full claim witliin the applicable time constraints constitutes a non-prompt payment in

       violation of TEX. INS. CODE §542.056.

44.    Liberty Mutual's delay in paying Plaintiffs' claim following receipt of all items,

       statemeiits, and forms reasonably requested and required, for longer than the amount of

       time provided, constitutes a non-prompt payinent of the claim. TEX. INS. CODE

       §542.058.

           BItEACH OF THE DIJTY OF GOOD FAITH AND FAIR DEALING

45..   All allegations above are incorporated herein.

46.    Liberty Mutual's conduct constitutes a breach of the common law duty of good faith and

       fair dealing owed to an insured in insurance contracts.

47.    Liberty Mutual's failure to adequately and reasonably investigate and evaluate Plaintiffs'

       claim, although, at that time, Liberty Mutual knew or should have known by the exercise

       of reasonable diligence that liability was reasonably clear, constitutes a breach of the duty -

       of good faith and fair dealing.

                                     DTPA VIOLATIONS

48.    All allegations above are incorporated herein.

49.    Liberty Mutual's conduct constitutes multiple violations of the Texas Deceptive Trade

       Practices Act ("DTPA"), TEX. BUS. & COM. CODE 17.41-63. Plaintiffs are consuiners

       of goods and services provided by Liberty Mutual pursuant to the DTPA. Plaintiffs have

       met all conditions precedent to bringing this cause of action against Liberty Mutual.

       Specifically, Liberty Mutual's violations of the DTPA include,• without limitation, the

       following matters:

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    A.   By its acts, oinissions, failures, and conduct, Liberty Mutual has violated sections

         17.46(b)(2), (5), (7), (9), (12), (20) and (24). of the DTPA. Liberty Mutual's

         violations include without limitation, (1) unreasonable delays in the investigation,

         adjustment, and resolution of Plaintiffs' claim, (2) failure to give Plaintiffs the

         benefit of the doubt, and (3) failure to pay for the proper repair of Plaintiffs'         ,

         property when liability has becoine reasonably clear, which gives Plaintiffs the

         right to recover under section 17.46(b)(2).

    B.   Liberty Mutual represented to Plaintiffs that the Policy and Liberty Mutual's

         adjusting and iiivestigative services had characteristics or benefits that they did not

         possess, which gives Plaintiffs the right to recover under section 17.46(b)(5) of the

         DTPA.

    C.   Liberty Mutual also represented to Plaintiffs that the Policy and Liberty Mutual's

         adjusting services were of a particular standard, quality, or grade wlien they were

         of another, in violation of section 17.46(b)(7) of the DTPA.

    D.   Furthermore, Liberty Mutual advertised the Policy and adjusting services with the

         iiitent not to sell them as advertised, in violation of section 17.46(b)(9) of the

         DTPA.

    E.   Liberty Mutual breached an express warranty that the daniages caused by wind and

         hail would be covered under the Policy. This breacli entitles Plaintiffs to recover

         under sections 17.46(b)(12) and (20) and 17.50(a)(2) of the DTPA.

    F.   Liberty Mutual's actions are unconscionable in that Liberty Mutual took advantage

         of Plaintiffs' lack of knowledge, ability, and experience to a grossly unfair degree.



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              Liberty Mutual's unconscionable conduct gives Plaintiffs a right to relief under

              section 17.50(a)(3) of the DTPA; and

      G.      Liberty Mutual's conduct, acts, oinissions, and failures, as described in this petition,

              are unfair practices in the business of insurance in violation of section 17.50(a)(4)

              of the DTPA.

50.   Each of the above-described acts, omissions, and failures of Liberty Mutual is a producing

      cause of Plaintiffs' damages. All of the above-described acts, omissions, and failures were

      conunitted "knowingly" and "intentionally," as defined by the Texas Deceptive Trade

      Practices Act.

                                             FRAUD

51.   All allegations above are incorporated herein.

52.   Liberty Mutual is liable to Plaintiffs for conunon law fraud.

53.   Each and every misrepresentation described above concerned material facts that absent

      such representations, Plaintiffs would not have acted as Plaintiffs did, and Liberty Mutual

      knew its representations were false or made recklessly without any knowledge of their truth

      as a positive assertion.

54.   Liberty Mutual inade the statements intending that Plaintiffs act upon them. .Plaintiffs then

      acted in reliance upon the statements, thereby causing Plaintiffs to suffer injury constituting

      cominon law fraud.

              CAUSES OF ACTION AGAINST DEFENDANT LISA LEVY

            NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                   UNFAIR SETTLEMENT PRACTICES

55.   All allegations above are incorporated herein.


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56.   Levy's conduct constitutes multiple violations of the Texas Insurance Code, Unfair Claim

      Settlement Practices Act. TEX. INS. CODE, §541.060(a).

57.   Levy is individually liable for her unfair and deceptive acts, irrespective of the fact that he

      was acting on behalf of Liberty 1Vlutual, because Levy is a"person," as defined by TEX.

      INS. CODE §541.002(2).

58.   Levy knowingly underestimated the amount of damage to the Property. As such, Levy

      failed to adopt and irnplement reasonable standards for the investigation of the claiin

      arising tmder the Policy. TEX. 1NS. CODE §542.003(3).

59.   Furthermore, Levy did not attempt in good faith to affect a fair, proinpt, and equitable

      settlement of the claim. TEX. INS. CODE §542.003(4).

60.   Levy's unfair settlement practice of failing to provide Plaintiffs a prompt and reasonable

      explanation of the basis in the Policy, in relation to the facts or applicable law, for partial

      denial of the claim, also constitutes an unfair method of competition and an unfair and

      deceptive act or practice. TEX. INS. CODE §541.060(a)(3).

61.   Levy's unfair settlement practice of failing to attempt in good faith to make a prompt, fair,

      and equitable settlement of the claim, even thougli liability under the Policy was reasonably

      clear, constitutes aii unfair method of competition and a deceptive act or practice in the

      business of insurance. TEX. INS. CODE §541.060(a)(2)(A).

                                     DTPA VIOLATIONS

62.   All allegations above are incorporated herein.

63:   Levy's conduct constitutes multiple violations of the Texas Deceptive Trade Practices Act

      ("DTPA"), TEX. BUS. & COM. CODE 17.41-63. Plaintiffs are consumers of goods and

      services provided by Levy pursuant to the DTPA. Plaiiitiffs have met all conditions

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      precedeiit to bringing this cause of action against Levy. Specifically, Levy's violations of

      the DTPA include the following matters:

      A.     By this Defendant's acts, omissions, failures, and conduct, Levy has violated

             sections 17.46(b)(2), (5), and (7) of the DTPA. Levy's violations include, (1)

             failure to give Plaintiffs the benefit of the doubt, and (2) failure to write up an

             estimate reflecting the proper repair of Plaintiffs' Property when liability have

             become reasonably clear, which gives Plaintiffs the right to recover under section

             17.46(b)(2).

      B.     Levy represented to Plaintiffs that the Policy and her adjusting and investigative

             services had characteristics or benefits they did not possess, which gives Plaintiffs

             the right to recover under section 17.46(b)(5) of the DTPA.

      C.     Levy represented to Plaintiffs that the Policy and her adjusting services were of a

             particular standard, quality, or grade when they were of another, in violation of

             section 17.46(b)(7) of the DTPA.

      D.     Levy's actions are unconscionable in that Levy took advantage of Plaintiffs' lack

             of knowledge, ability, and experience to a grossly unfair degree. Levy's

             unconscionable conduct gives Plaintiffs a right to relief under section 17.50(a)(3)

             of the DTPA; and

      E.     Levy's conduct, acts, omissions, and failures, as described in this petition, are unfair

             practices in the business of insurance in violation of section 17.50(a)(4) of the

             DTPA.

64.   Each of Levy's above-described acts, omissions, and failures is a producing cause of

      Plaintiffs' damages. All acts, omissions, and failures were committed "knowingly" and

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        "intentionally" by Levy, as defined by the Texas Deceptive Trade Practices Act. TEX.

        BUS. & COM. CODE 17.45.

                                              17i1

65.     All allegations above are incorporated herein.

66.     Liberty Mutual assigned or hired Levy to adjust the claim.

           a. Levy had a vested interest in undervaluing the claims assigned to hiin by Liberty

               Mutual in order to maintain her employinent. The disparity in the number of

               damaged items in her report (zero (0)) compared to that of Plaintiffs' third-party

               adjuster's (seveiity-five (75)) is evidence of fraud oii the part of Levy. The

               valuation of damages that were included in Levy's report (zero dollars ($))

               compared to Plaintiffs' third-party adjuster's (forty-seven thousand three hundred

               twelve dollars and fourteen cents ($47,312.14)) is also evidence of fraud on the part

               of Levy.

           b. Furthermore, Levy was aware of Plaintiffs' deductible before visiting the Property

               to conduct the inspection. Levy had advanced knowledge of what amount of

               damages she needed to find in order to deny the claim, which she did witli an
,
               indication in her denial letter that "no storm related damages were found." Levy

               made this representation despite obvious and appareiit wind damage throughout the

               roof and resulting water damage to the interior of the dwelling.

           c. Levy made misrepresentations as to the amount of damage Plaintiffs' Property

               sustained (i.e., none) as well as misrepresentations regarding how much it would

               cost to repair the damage (i.e., nothing) to Plaintiffs' Property:

           d. Levy made further misrepresentations to Plaintiffs during her inspection. Levy used

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             her expertise to fabricate plausible explanations for why visible damage to

             Plaintiffs' Property would not be covered under the policy. Such misrepresentations

             include but are not limited to, damage to the P"roperty owing from wear and tear,

             damage from a previous claiin, and damage of a type not consistent with the type

             of claim that was inade.

                                  GROSS NEGLIGENCE

67.   All allegations above are incoiporated herein.

68.   Levy's actions or omissions constitute gross negligence as defined in TEX. CIV. P. &

      REM. CODE § 41.001 (11)(A) and (B):

          a. Levy's actions, when viewed objectively from the standpoint of the actor at the time

             of their occurrence involves an extreme degree of risk, considering the probability

             and magnitude of potential harm to Plaintiffs; and

         b. Levy had actual, subjective awareness of the risk iiivolved but nevertheless

             proceeded with conscious indifference to the rights, safety, and/or welfare of

             Plaintiffs.

69.   Levy intentionally misrepresented the scope and ainount of dainages on the estimate

      prepared for Plaintiffs' Property on behalf of Liberty Mutual. Her estimate was to such an

      extreine degree below what another licensed adjuster would have done in this situation (as

      evidenced by the Third-party adjuster's estimate); it was also in complete disregard for the

      risk and harm Plaintiffs would suffer if the actual damages to the Property were allowed to

      persist unrepaired.

                                        NEGLIGENCE

70.   All allegations above are incorporated herein.

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71.   Levy was negligent in her actions with regard to her adjusting of Plaintiffs' claim and

      violated the standard of care for an insurance adjuster licensed in the state of Texas. Those

      failures include one or more of the following acts or omissions:

         a. Failure to conduct a reasonable inspection;

         b. Failure to include covered damage that would be discovered as a result of

             reasonable inspection;

         c. Failure to identify the proper cause and scope of the damage to Plaintiffs' Property;

         d. Failure to identify the cost of proper repairs to Plaintiffs' Property; and

         e. Failure to communicate to Plaintiffs the reasons for specific determinations made

             regarding the inclusion or exclusion of dainage to Plaintiffs' Property.

72.   Levy's acts and/or omissions constitute negligence. Her conduct was therefore a proximate

      cause of the damages sustained by Plaintiffs.

73.   At all relevant times, Levy was an agent or employee of Defendant Liberty Mutual.

74.   Levy's unreasonable inspection was performed within the course and scope of her duties

      with Defendant Liberty Mutual. Therefore, Liberty Mutual is also liable for the negligence

      of Levy through the doctrine of respondeat superior.



                                       KNOWLEI)GE

75.   Defendants made each of the acts described above, together and singularly, "knowingly,"

      as defined in the Texas Insurance Code, and each was a producing cause of Plaintiffs'

      damages described herein.




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                                 WAIVER AleTD ESTOPPEL

76.   Defendants waived and are estopped from asserting any coverage defenses, conditions,

      exclusions, or exceptions to coverage not contained in aiiy reservation of rights letter to

      Plaintiffs.

                                          DAMAGES

77.   Since the claim was made, Liberty Mutual has not properly coinpensated Plaintiffs for all

      necessary repairs inade, which are covered under the Policy. This has caused undue

      hardship aiid burden to Plaintiffs. These damages are a direct result of Defendants'

      mishandling of Plaintiffs' claim in violation of the laws set forth above.

78.   Defendants made the above and other false representations to Plaintiffs, either knowingly

      or recklessly, as a positive assertion, without knowledge of the trutli. Defendants made

      these false misrepresentations witli the iiitent that Plaintiffs act in accordance witli the

      inisrepreseiitations. Plaintiffs then relied on these misrepresentations, including but not

      limited to those regarding coverage and the cause and scope of damage. Plaintiffs suffered

      damages as a result.

79.   Plaintiffs would show that all of the aforeinentioned acts, taken together or singularly,

      constitute the producing causes of dainages sustained. The acts, omissions, failures, and

      conduct of Defendants have caused Plaintiffs' damages, wliich include, witliout limitation,

      costs for all necessary repairs required to be made to Plaintiffs' Property, and any

      investigative and engineering fees incurred.

80.   For breach of contract, Plaintiffs are entitled to regain the benefit of Plaintiffs' bargain,

      which is the amount of Plaintiffs' claim, consequential damages, together with attorney's

      fees.

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81.   The damage to Plaintiffs' Property is currently estimated at $47,312.14.

82.   For noncompliance witli the DTPA and Texas Tnsurance Code, Unfair Settlement Practices,

      Plaintiffs are entitled to actual damages, which include the loss of the benefits owed

      pursuant to the Policy, court costs, and attorney's fees. For knowing and intentional

      conduct of the acts described above, Plaiiitiffs asks for three (3) times Plaintiffs' actual

      damages. TEX.INS. CODE §541.152 and TEX. BUS. & COM. CODE 17.50(B)(1).

83.   For noncompliance with Texas Insurance Code, Proinpt Paynient of Claims, Plaintiffs are

       entitled to the amount of Plaintiffs' claim, plus an eighteen percent (18%) per annum

      penalty on that claim, as damages, as well as pre judgment interest and reasonable

      attorney's fees. TEX. INS. CODE §542.060.

84.   For breach of the common law duty of good faith and fair dealing, Plaintiffs are entitled to

       compensatory damages, including all forms of loss resulting from Defendants' breach of

      duty, such as additional costs, economic hardship, losses due to nonpayment of money

      Liberty Mutual owed, and exemplary damages.

85., Defendants' breach of the common law duty of good faith and fair dealing was committed

      intentionally, with a conscious indifference to Plaintiffs' riglits and welfare, and with

      "malice," as that term is defined in Chapter 41 of the Texas Civil Practices and Remedies

      Code. These violations are the type of conduct which the State of Texas protects its citizens

      against by the imposition of exemplary damages. Therefore, Plaintiffs seek the recovery

      of exemplary damages in an amount determined by the finder of fact sufficient to punish

      Defendants for their wrongful conduct and to set an example to deter Defendants and others

       from committing similar acts in the future.



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86.   For fraud, Plaintiffs are entitled to recover actual and exemplary damages for knowingly

      fraudulent and inalicious representations, along with attorney's fees, interest, and court

      costs.

87.   For the prosecution and collection of this claim, Plaintiffs have been compelled to engage

      the services of the attonieys subscribed to this pleading. Therefore, under Chapter 38 of

      the Texas Civil Practices and Remedies Code, sections 541 and 542 of the Texas Insurance

      Code, and section 17.50 of the DTPA, Plaintiffs are entitled to recover a sum for the

      reasonable and necessary services of Plaintiffs' attorneys in the preparation and trial of this

      action, including any appeals to the Court of Appeals and/or the Supreme Court of Texas.

88.   As required by Rule 47(b) of the Texas Rules of Civil Procedure, Plaintiffs' counsel states

      that the damages souglit are in an ainount witliin the jurisdictional limits of tlus Court. As

      required by Rule 47(c)(3) of the Texas Rules of Civil Procedure, Plaintiffs' couiisel states that

      Plaintiffs seek only monetary relief of no less than $100,000.00, but no more than

      $200,000.00, including damages of any kind, penalties, costs, expenses, pre judginent interest,

      and attorney fees. A jury will ultimately determine the monetary relief actually awarded, however.

      Plaintiffs also seek pre judgment and post judgment interest at the higliest legal rate.

                                REQUESTS FOR DISCLOSURE

89.   Under Texas Rules of Civil Procedure. 190 and 194, Plaintiffs request that Defendants

      disclose, within fifty (50) days from the date this request is served, the information or material

      described in Rules 190.2(b)(6) and 194.2.




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                                         JiJRY DEMAND

90.    Plaintiffs hereby request a jury trial for all causes of action alleged herein, tried before a

       jury consisting of citizens residing in Harris County, Texas. Plaiiitiffs hereby tender the

        appropriate jury fee.

                                             PRAYER

       Plaintiffs pray that Defendants, Liberty Mutual Insurance Company and Lisa Levy, be cited

and served to appear, and that upon trial hereof, Plaintiffs, Kwang Hwang and Jungeun Lim, have

and recovers from Defendants, Liberty Mutual Insurance Company and Lisa Levy, such sums as

would reasonably and justly compensate Plaintiffs in accordance with the rules of law and

procedure, as to actual, consequential, and treble damages under the Texas Insurance Code and

Texas Deceptive Trade Practices Act, and all punitive, additional, and exeinplary dainages, as inay

be found. In addition, Plaintiffs request the award of attorney's fees for the trial and any appeal

of this case, for all costs of Court expended on Plaintiffs' behalf, for pre judgment and post-

judgment interest as allowed by law; aiid for any other and fizrther relief, at law or in equity, to .

which Plaintiffs, Kwang Hwang and Jungeun Lim, may show Plaintiffs are justly entitled.

                                                      Respectfully submitted,

                                                      CHAD T WILSON LAw FIRM PLLC

                                                      By: /s/ Chad T. Wilson

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